     Case 2:22-cv-04465-CAS-GJS Document 41 Filed 04/14/23 Page 1 of 2 Page ID #:1577




1
2
3
4
5
6
7
8                             UNITED STATES DISTRICT COURT

9                            CENTRAL DISTRICT OF CALIFORNIA
10
11      72ANDSUNNY PARTERS LLC.,                  Case No. 2:22-cv-4465-CAS-GJSx
        et al.,
12                                                ORDER
13             Plaintiffs,

14             v.                                 Hon. Christina A. Snyder
15      ALEJANDRO MAYORKAS, in his
16      official capacity as the Secretary of
        Homeland Security, et al.,
17
               Defendants.
18
19
20           Pursuant to the Stipulation filed by the parties, and for good cause shown,
21     IT IS ORDERED that the Parties shall file Cross-Motions for Summary Judgment
22     simultaneously on May 15, 2023, oppositions shall be filed no later than June 14,
23     2023, replies shall be filed no later than June 28, 2023, and the motions hearing
24     shall be noticed for August 28, 2023, at 10:00 a.m.
25
26     Dated: April 14, 2023                          __                           _
27                                                    Hon. Christina A. Snyder
                                                      United States District Judge
28


                                                -1-
Case 2:22-cv-04465-CAS-GJS Document 41 Filed 04/14/23 Page 2 of 2 Page ID #:1578
